

Matter of Liam A. (Ingrid D.) (2021 NY Slip Op 00934)





Matter of Liam A. (Ingrid D.)


2021 NY Slip Op 00934


Decided on February 11, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 11, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, TROUTMAN, AND DEJOSEPH, JJ.


106 CAF 18-02357

[*1]IN THE MATTER OF LIAM A. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; INGRID D., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






CHARU NARANG, BROCKPORT, FOR RESPONDENT-APPELLANT.
DONALD S. THOMSON, BATH, FOR PETITIONER-RESPONDENT.
THOMAS V. CASE, HORNELL, ATTORNEY FOR THE CHILD.


	Appeal from an order of the Family Court, Steuben County (Peter C. Bradstreet, J.), entered October 31, 2018 in a proceeding pursuant to Social Services Law § 384-b. The order, inter alia, terminated the parental rights of respondent with respect to the subject child. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Paul S., Jr. (Ingrid D.) (— AD3d — [Feb. 11, 2021] [4th Dept 2021]).
Entered: February 11, 2021
Mark W. Bennett
Clerk of the Court








